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              ..                                                                                                                          OMB Approved No. 2900-0075
                                                                                                                                          Respondent Burden: IS minutes

~ Department of Veterans Affairs                                             STATEMENT IN SUPPORT OF CLAIM
PRIVACY ACT INFORMATION: The law authorizes us to request the infonnation we arc asking you to provide on this form (38 U.S.C. SOl(a) and (b)). The
responses you submit are considered confidential (38 U.S.C. 5701). They may be disclosed outside the Department of Veterans Affairs (VA) only if the disclosure is
authorized under the Privacy Act, including the routine uses identified in the VA system of records, S8VA21n2, Compensation, Pension, Education and Rehabilitation
Records • VA, published in the Federal Register. The requested Information is considered relevant and necessary lo determine maximum benefits under the law.
Information submitted is subject 10 verification through computer matching programs with other agencies.

RESPONDENT BURDEN: VA may not conduct or sponsor, and respondent is not required to respond to this collection of information unless it displays a valid OMB
Control Number. Public rc\X>ning burden for this collection of information is estimated to average lS minutes per response, including lhc ume for reviewing
insuuctions. searching cidstmg data sources, gathering and maintaining the data needed, and comrleting and reviewing the coll~llon of infonnation. If yoq have
comments regarding this burden estimate or any other aspect of this collection of information, cal 1-800.827-1000 for malling Information on where 10 send your
comments.

                                                                                                            SOCIAL SECURITY NO.           VA FILE NO.




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                             statements on this fonn are true and correct to the best of my knowledge and belief.
  SIGNAlURE                                                                                                    DATE SIGNED


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    PENALTY: The law provides severe penalties which include nnc or lmpnsonrncnt, or both, for the willful &ubmis11ion of any statement or evidence of a material fact,
    knowing it to be false.
                                                                      EXISTING STOCKS OF VA FORM 21-4138,
  °'!~•.F~           21-4138                                          APR 1994. WILL BE USED
                                Case 1:18-cv-01037-ELR Document 4 Filed 04/19/18 Page 5 of 6 ORM APPROVED
                                                                                                                                                     OMB NO. 1105-0008




9.
NAME AND ADDRESS OF OWNER, IF OTHER THAN CU\IMANT (Number, Street, City, State, and Zip Code).



BRIEFLY DESCRIBE THE PROPERTY, NATURE AND EXTENT OF THE DAMA.GE AND THE LOCATION OF WHERE THE PROPERTY MAY BE INSPECTED.
(See instrucHons on reverse side).




10.                                                                  PERSONALINJURVIWRONGFULDEATH




                              NAME                                                            ADDRESS (Number, Stceet, City, State, and Zip Code)




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12. (See instructions on reverse).                                        AMOUNT OF CLAIM (In dollsrs)                                         ·-·"'.,.._,-   ..c:-
12a. PROPERTY DAMAGE                    12 • PERSONAL INJURY                            12c. WRONGFUL DEATH                 12d. TOTAL (Fal~:to s~may ~
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                                          ".301 0001 000.                                                                                       "•4· ·~
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I CERTIFY THAT THE AMOUNT OF CLAIM COVERS ONLY DAMAGES AND INJURIES f~!'f.fO'M.,1:19                                        AND AGREE TO;~CGEPT §ND AM91Jfrr IN
FULL SAT. ACTI     AND FINAL SETTLEMENT OF THIS CLAIM.                                                                                         '1:   r;-      -·.-       ·-.......
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                                                                                                                                                              _,
                                                                                                              IMI       E      FOR PRESENTING FRAUDULENT
                                                                                                                    CLAIM OR MAKING FALSE STATEMENTS

                     to the United States "Govemment for a civil penalty of not less than      Fib•. ~.3~h. (See 18 u.s.c. 287, 1001.)
 $5,000 end n more than $10,000, plus 3 times the amount of damages sustained
 by the Government. (See 31 u.s.c. 3729).
 Authorized for Local Reproduction                                             NSN 7540-00-634-4046                                    STANDARD FORM 95 (REV. 212007)
 Previous Edition Is not Usable                                                                                                        PRESCRIBED BY DEPT. OF JUSTICE
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